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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTIUCT OF COLUMBIA

                                   Holding a Criminal Term

                           Grand Jury Sworn in on January 8,2021

 TTNITED STATES OF AMERICA                            ~RIlV~TAL NO.21-cr-246

                o.                                   G~tAND JURY ORIGINAL

 DANIEL JOSEPH "DJ'" RODRIGUEZ,                      VIOLATIONS:
(Counts 1, 2,3,4,6,7,8,10)
                                                     18 U.S.C.§ 371
                                                    (Conspiracy)
( oun _ .:~';Z 3,10)                                 18 U.S.C. §§ 1512(c)(2),2
                                                    (Obstruction of an Official Proceeding and
                                                     Aiding and Abetting)
(Counts 1, 2,3,5,7,9,10)                             18 U.S.C.§ 1512(c)(1)
                                                    (Tampering with Documents or
                                                     Proceedings)
                                                     18 U.S.C.§ 231(a)(3)
                                                    (Obstruction ofLaw Enforcement Daring
                                                     Civil Disordcr and Aiding and Abctting~
                                                     18 U.S.C. §§ 111(a)(1) and(b)
                     Defendants.                    (Inflicting Bodily Injury on Certain Officers
                                                     Using a Dangerons'Weapon)
                                                     18 U.S.C.§ 641
                                                    (Theft of Government Property)
                                                     18 U.S.C.§ 1361
                                                    (Destruction of Government Property)
                                                      18 U.S.C.§ 1752(a)(1) and (b)(1)(A)
                                                    (Entering and Remaining in a Restricted
                                                     Building or Grounds)

                                                              Case No.1.21~r-246
                                                              Assign to: Judge Amy B. Jackson
                                                              Description: SUPERSEDING INDICTMENT(B)
                                                              Case Related tv 21-cr-246(ABJ)

       The Crrand Jwry charges that, at all times material to this Indictment, on or about the dates

stated below:

                                          Introduction
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  T'he 2020 United States PresidentialElection and the OfficiaCProceeding on January 6,202

         1.     The 2020 United States Presidential Election occurred on November 3, 2020.

         2.     The United States Electoral College ("Electoral College") is a group required by

 the Constitution to form. every four yeazs for the sole purpose of electing the president and vice

 president, with each state appointing its own electors in a number equal to the size ofthat state's

 Congressional delegation.

        3.      On December 14,2020,the presidential electors ofthe Electoral College met in the

 state capital of each state and in the District of Columbia and formalized the result of the 2020

 U.S. Pzesidential Election: Joseph R. Biden Jr. and Kamala D. Harris were declared to have won

 sufficient votes to be elected the ne}rt president and vice president ofthe United States.

        4.      On January 6,2021, a Joint Session ofthe United States House of Representatives

 and the United States Senate ("the Joint Session") convened in the United States Capitol ("the

 Capitol") building to certify the vote ofthe Electoral College ofthe 2020 U.S.PFesidential Election

("the Electoral College vote").

                                            Defendants

        5.      DANIEL JOSEPH "DJ" RODRIGUEZ was a 38-year-old resident of Panorama

 City, California.

        6.      EDWARD BADALTAN was a 26-yeaz-old resident ofNorth Hills, California.

        7.     ~~was a~-year-old resident of~,

        8.      In the fall of 2020 U.S. Presidential election, RODRIGUEZ, BADA.LIAN, and

others created a Telegram group chat, the "PATRIOTS 45 MA.GA Gang," hereinafter "the

PATRIOTS 45 group chat," to support former President Donald J. Trump and to discuss what

RODRIGUEZ and BADALIAN asserted was a stolen or fraudulent election result.




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        9.     .From at least itn or azound November 2020, RODRIGUEZ and BADALJAN used

the PATRIOTS 45 group chat as a platform to advocate violence against certain groups and

individuals that either supported the 2020 presidential election results, supported what the group

pezceived as liberal, or communist ideologies, or held positions of authority in the government.

        10.     In late 2020, RODRIGUEZ, BADALIAN and~all attended rallies in

Southern California, including in Huntington Beach and Beverly Hills, that supported then-

President Trump and protested various issues including COVID-19 mask mandates in California.


                   The Attack at the United States Capitol on Tanuary 6, 2021

        1 1.    The Capitol is secured 24 hours a day by United States Capitol Police ("Capitol

Police"). The Capitol Police maintain permanent and temporary barriers to restrict access to the

Capitol exterior, and only authorized individuals with ~.ppropriate identification are allowed inside

the Capitol building.

       12.      On January 6, 2021, the exterior plaza of the United States Capitol was closed to

members ofthe public.

       13.      On January 6,2021, at approximately 1:00 p.m.,the Joint Session convened in the

Capitol building to certify the Electoral College vote. Vice President Michael R Pence presided,

first in the Joint Session and then in the Senate chamber.

       14.      A large crowd began to gather outside the Capitol perimetez as the Joint Session

got underway. Crowd members eventually forced their way through, up, and over Capitol Police

barricades and advanced to the bui.lding's exterior facade. Capitol Police officers attempted to

maintain order and stop the crowd from entering the Capitol building, to which the doors and

windows were locked or otherwise secured. Nonetheless,shortly after 2:00 p.m.,crowd members

forced entry. into the Capitol building by breal~ing windows,ramnning open doozs, and assaulting



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 Capitol Police officers. Other crowd members encouraged and otherwise assisted the forced entry.

 The crowd was not lawfully authorized to enter or remain inside the Capitol, and no crowd member

 submitted to security screenings or weapons checks by Capitol Police oz other security officials.

        15.     Shortly thereafter, at approximately 2:20 p.m., members of the House and Senate

(including Vice President Pence) were evacuated from their respective chambers. The Joint

 Session was halted while Capitol Police and other law-enforcement officers worked to restore

 order and clear the Capitol ofthe unlawfial occupants.

        16.     Later that night,law enforcement regained control ofthe Capitol. At approximately

8:00 p.m.,the Joint Session reconvened,presided over by Vice President Pence,who had remained

hidden within the Capitol building throughout these events.

        17.     During the course ofthese events,at least 120 members ofthe United States Capitol

Police and members ofthe Metropolitan Police Department were assaulted. The Capitol suffered

millions of dollars in damage—including broken windows and doors, graffiti, and residue from

pepper spray, tear gas, and fire extinguishers deployed both by crowd members who stormed the

Capitol and by Capitol Police officers trying to restore order. Additionally, many media members

were assaulted and had cameras and other news-gathering equipment destroyed.

                                     COUNT ONE
        Conspu~acy to Commit an Offense Against the United States--18 U.S.C.§ 371

        1 S.   The allegations in paragraphs 1 through 17 are realleged and incorporated as iffully

set forth in this paragraph.

        19.    Between on or about December 19,2020,and or on about January 19,2021, within

the District of Columbia and elsewhere, the defendants,

                                   DANIEL RODRIGUEZ,
                                  EDWARD BADALIAN,and
                                       ~~


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did lmowingly and willfully conspire, combine, confederate, and agree together with each other

and with other individuals whose identities aze both lmown and unknown to the Grand Jury, to

commit offenses against the United States,namely:(1)to corruptly obstruct,influence,and impede

an official proceeding, that is, Congress's certification of the Electoral College vote, in violation

of Title 18, United States Code, Section 1512(c)(2), and (2)to cozruptly alter, destroy, mutilate,

and conceal a record, document, and other object with the intent to impair its integrity and

availability for use in an official proceeding,that is,the grand jury investigation into the attack on

the Capitol on January 6, 2021,in violation ofTifle 18, United States Code, Section 1512(c)(1).

                                     Goals ofthe Conspiracy

       20.      The goals of the conspiracy were (1) to stop, delay, and hinder Congress's

Certification ofthe Electoral College vote, and(2)to corruptly alter, destroy, mutilate,and conceal

a record, document, or other object to prevent evidence of their unlawful acts on January 6,2021

from being used in an official proceeding,that is, the grand jury investigation iunto the attack ofthe

Capitol on January 6,2021.

                                        Manner and Means

       21.                         ~and other persons whose identities are
                RODRIGUEZ, BADALIAN,

known and tu~known to the grand jury, carried out the conspiracy though the following means,

among others, by:

             a. Encouraging each other to attend the Stop the Steal ra11y in Washington, D.C., on

                January 6, 2021;

             b. Collecting weapons and tactical gear to bring to Washington, D.C., to include a

                trier, pepper spray, a baseball bat, gas masks,and walkie talkies; .

           c. Acquiring a rental vehicle and travelling from California to Was}ungton,D.C.,prior



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                  to the January 6 events;

              d. Storming past bamcades to gain unlawful access to the grounds ofthe Capitol;

              e. Participating in violent obstruction oflaw enforcement's attempts to remove rioters

                  from the tunnel on the Lower West Terrace ofthe Capitol;

              f. Assaulting, opposing,impeding, intimidating and interfering with members ofIaw

                  enforcement to prohibit them from defending the Capitol grounds and building

                  from rioters seeking to gain violent entry;

              g. Obtaining unlawful enhy into the Capitol building as a result ofdamage to windows

                  on the Lower West Terrace;

              h. Damaging property inside the Capitol building;

              i. Stealing emergency escape hoods from inside the Capitol building;

              j. A{~er returning to California, attempting to mutilate or destroy photographs and

                 videos taken by PERSON ONE in order to prevent such evidence from being

                 presented to the grand jury investigating the attack on January 6.

                                              Overt Acts

        22.      During and in furtherance of the conspiracy, and to effect the object thereof, the

defendants DANIEL RODRIGUEZ, EDWARll BADALIAN,~~and other ca

conspirators l~own and unknown to the Crrand Jury, committed the following overt acts, among

others, in the District of Columbia and elsewhere:

                                   Preparingfor January 6,2021

       23.        On or about December 19, 2020, a person whose identity is known to the grand

jury posted in the PATRIOTS 45 group chat that "Trump is calling on everyone to go to DC Jan

6~"' along with a screenshot of a Twitter post by former President Trump, which stated

"Statistically impossible to have lost the 2020 Election. Big pzotest in D.C. on January 6~'. Be


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 there, will be wild!"Then on or about December 20,2020,BADALIAN posted in the PATRIOTS

 45 group chat"okay so who is down to drive to DC on Jan 4?"

        24.      On or about December 21,2Q2~,BADALIAN posted in the PATRIOTS 45 group

 chat,"we need to violently remove traitors and if they are in key positions rapidly replace them

 with able bodied Patriots."

        25.      On or about December 22,2020,BADALIAN posted in the PATRIOTS 45 group

cleat, "he [i.e., President Trump] has to let it sit on his desk until Jan 3 /veto / by the time witch

[i.e., Senate Majority Leader Mitch McConnell]can do the override we will bethere /then he cam

invoke and Patriots will be a[t] the ready."

        26.      On or about December 23,2020,RODRIGUEZ told the PATRIOTS 45 group chat,

"we gotta. go handle this shit in DC so the crooked politicians don't have an army of thugs

threatening violence to back their malevolent cabal ways[.]"

        27.      On or about December 26,2020,BADALIAN posted a flyer in the PATRIOTS 45

group chat tided."MAGA CAVALRY," showing a map ofthe Eastern half ofthe United States

and several "rally points""to connect patriot cazavans to StopTheSteal in D.C.," to enable groups

to arrive in Washington, D.C. by 6 p.m. on January 5,2021.

       28.      On or about December 29,2020,RODRIGUEZ posted in the PATRIOTS 45 group

chat,"Congress can hang. I'll do it. Please let us get these people dear God."

       29.                                   ~stated in a video taken by PERSON
                On of about December 31, 2020,

TWO that those individuals who were contrary to Biden would "never give up" and would "fight

until we get our country back." When PERSON TWO said, "we are taking this shit back,"

             answered,"yeah, absolutely, yes."

       30.      Between on or about December 31, 2021 and on or about January 4,2021, before




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 leaving Southern California for Washington, D.C., RODRIGUEZ told a person whose identity is

 known to the grand jury that RODRIGIJEZ would "assassinate Joe Biden" if he got the chance

 and "would rather die than live under a Biden administration."

                                     Travel to Washington,D.C.

        31.     On or about January 1, 2021, RODRIGUEZ posted in the PATRIOTS 45 group

chat a link to an A.irBNB on Washington Boulevard in Arlington, Virginia, where RODRIGUEZ

and others planned to stay upon their arrival in the Washington, D.C. area.

        32.     Aftex posting the link to the AirBNB on or about January 1, 2021, RODRIGUEZ

also posted in the PATRIOTS 45 group chat,"[p]lus we have a giant van so it's like an army inside

lol."

        33.     On or about January 2, 2021,BADALIAN confirmed to the PATRIOTS 45 group

chat that he had respirators, masks, snow goggles, knee pads and baseball helmets for the group,

and recommended that others obtain more snow goggles.

        34.     Qn or about January 3, 2021, BADALIAN and another person whose identity is

known to the grand jury went to Enterprise car rental at Los Angeles International Airport to rent

a vehicle for the trip to Washington,D.C.

        35.     On or about January 3, 2021, RODRIGLTEZ, BADALIAN, and other inditviduals

whose identities are known to the grand jury then left Los Angeles and drove across the country

to Washington, D.C.

        36.     On oz about January 5,2021,BADALIAN posted in the PATRIOTS 45 group chat:

`ewe don't want to fight antifa lol we want to arrest traitors."

        37.     On or about January 5, 2021, RODRIGUEZ, BADALIAN, and the others in the

vehicle joined a caravan to Washington,D.C. in Louisville, K.Y.




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        38.       On or about January 5, 2021, during the caravan to Washington, D.C.,

BADA.LTAN, RODRIGUEZ, and others in the van set up communications via a radio

communications cellphone application with others in the cazavan.

        39.       On or about January 5, 2021, RODRIGUEZ, BADALIAN, and the others in the

vehicle azrived at the AirBNB in Arlington, Virginia.

        40.                                ~flew from Los.Angeles, California, to San
                 On or about January S,2021,

Francisco, California, and then to the Washington, D.C. metro area, landing at Washington Dulles

International Airport in Dulles, Virginia, on the morning of January 6,2021.

        41.      On or about January 5, 2021, RODRIGUEZ posted in the PATRIOTS 45 group

chat: `vI'here will be blood. Welcome to the revolution."

              January 6,2021: JointParticipation by the Defendants in the Riot at the Capitol

        42.      In or around the morning hours on or about January 6, 2021, RODRIGUEZ,

BADALIAN,and others whose identities are l~own and unknown to the grandjury, metin a group

in downtown Washington, D.C. to walk to the Ellipse for a rally featuring a speech by former

President Trump.

       43.       On or about January 6, 2021, after the rally, RODRIGUEZ and BADALIAI*T,

bearing walkie tallcies, walked down Pennsylvania Avenue to the Capitol.

       44.                                                               ~sent a text
                 At approximately 10:11 a.m., on or about January 6, 2021,

message to PERSON TWO,stating that~and others were at the Ellipse and asking if

PFR.SON TWO wanted to "connect with us and roll in force?"

       45.                                                              ~sent another
                 At approximately 1:50 p.m., on or about January 6, 2021,

text message to the same person stating,"we are at the capitol steps, it is going off,the people aze

breaking down the barriers, the battle has begun."




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            46.   At approximately 2:40 p.m., on of about January 6, 2021, RODRIGUEZ,

 BADALIAN,and~gathered with thousands of others at the Lower West Terrace ofthe

 Capitol building.

            47.   Shortly after 2:40 p.m., on or about January 6,2021,RODRIGUEZ and

 joined rioters who were gathering in a tunnel on the Lower West Terrace ofthe Capitol, trying to

 gain access to the building.

            48.   From approximately 2:40 p.m. to approximately 3:15 p.m., on or about January 6,

               ~and other rioters were pushing against police officers who were
 2021,RODRIGUEZ,

 trying to prevent the rioters from entering the Capitol building and to remove the rioters from the

 tunnel.

            49.   On_ or about January 6, 2021, RODRIGUEZ advanced into the tunnel to the

 doorway on the lower west terrace, where he participated in a "heave ho" effort with the other

 rioters.

            50.   Between approximately 2:42 p.m. and 3:18 p.m.,on or about January 6,2Q21,while

 in the tunnel,RODRIGITEZ threw a flagpole at the police line in the doorway and deployed a fire

 extinguisher at the officers.

        51.       At approximately 2:52 p.m., on or about January 6, 2021, while in the tunnel,

RODRIGUEZ received a small, black electroshock weapon from another rioter inside the tunnel,

 who assisted RODRIGUEZ in turning on the device.

        52.                                                             ~advanced into
                  At appzoximately 2:55 p.m., on oz about January 6,2021,

the sallyport between the first and second doors to the United States Capitol building and resisted

Metropolitan Police Department Officer N.I.'s attempts to remove him from that area for over 20




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                                                               ~stated to the officers
 minutes. While N.I. and other officers attempted to remove him,

"liberty or death, gentlemen!"

        53.      At approximately 3:06 p.m., on or about January 6, 2021,~yelled

encouragement to the other rioters attempting breach the door including: "Hold the line!""Don't

surrender! Fight for Trump!" and "Push forwazd, Patriots! If you are gonna die, it best be on

Capitol Hill!"

        54.      At approximately 3:18 p.m.; on or about January 6, 2021, another rioter pulled

Metropolitan Police Department Officer M.F. out of the police line and into the crowd. Shortly

thereafter,RODRIGUEZ twice applied the small, black electroshock weapon to the back ofOfficer

M.F.'s neck. Officer M.F. subsequently lost consciousness and was later admitted to Washington

Hospital Center for treatment for his injuries.

        55.      At approximately 3:45 p.m., on or abou# January 6,2021,rioters broke the window

to the left of the tunnel on the Lower West Terrace. After the window was broken,

climbed through the window and into the Capitol building,followed shortly by RODRIGiTEZ and

BADA.LIAN,uniting the three co-conspirators in room ST2M.

        56.      Once inside the Capitol building, on or about January 6,2021,RODRIGITEZ stood

atop some furniture in room ST2M,and announced to all the rioters present inside that"they have

shot and killed a girl."

       57.                                                              ~led the rioters
                 Subsequent to that statement,on or about January 6,2021,

out ofthe initial zoom they had entered and made their way towazd adjacent offices.

       58.       Thereafter, on oz about January 6,2021,RODRIGUEZ attempted to break another

window in the adjacent, second office~T4Mby slamming a flagpole repeatedly into the

window, causing damage to the window in excess of$1,000.




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         59.                                ~assisted rioters who were attempting to
                 On or about January 6, 2021,

 gain access to a third offices—S'£6M—i.n the same suite ofoffices. When the door would not open,

               kicked the door twice, attempting to force entry. Other rioters did the same,

             ~once again kicked the door twice to force entry, causing damage to the
 successfully.

 door.

         60.     On or about January 6,2021,after another rioter picked the lock and the defendants

 gained access to ST6M,RODRIGUEZ verbally encouraged'other voters to Look for "intel:'

         61.     On or about January 6,2021,in office STEM,RODRIGUEZ and                      opened

 bags in the office, rifled through papers onthe desks,and subsequently removed emergency escape

                    ~carried two emergency escape hoods from the building when be
 hoods from the bags.

 exited. RODRIGUEZ was subsequently photogzaphed holding an emergency escape hood.

         62.     At approximately 4:00 p.m., on or about January 6,2021,RODRIGUEZ posted in

 the PATRIOTS 45 group chat,"Omg I did so much fucking shit m and got away tell you later"

 and "T~~~Pd the fuck out ofthe blue[.]"

                           After.Tanuary 6,2021:Attempts to Destroy Evidence

         63.                                ~canceled his return flight to California,
                 On or about January 7, 2021,

 which was scheduled for January 8, 2021.

         64.                                ~joined RODRIGUEZ, BADALIAN and
                 On or about January 7, 2021,

 othez individuals whose identities aze lrnown to the grand jury, in the rental vehicle for the return.

 drive to California from Washington,D.C.

         65.     Qn or about January 8, 2021, during the drive back to California, BADALIAN

 appeazed on the INFOWAR.S call-in show "War Room" under the pseudonym "Turbo." Dwring

 the interview, BADALIAN discussed his participation in the events at the Capitol on January 6,




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 2021, while photographs and videos of BADALLAN at the Lower West Terrace of the Capitol

 played for viewers.

        66.    On or about January 8, 2021, during the INFOWARS interview BADALIAN

 discussed video footage that had been provided to INFOWARS by PERSON ONE. The footage

showed BADALIAN attacking another zioter on the Lower West Terrace beneath the windowsill

of the window that was ultimately broken~by rioters. BADALIAN explained that the footage

depicted him fighting a person who be believed to be a member of Antifa disguised as a Trump

supporter. Immediately after BADALIAN's interview, PERSON ONE was interviewed by

INFOWARS aboutthe same video. During that interview,PERSON ONE referred to BADALIAN

as"Ed," as opposed to the pseudonym "Turbo," which BADALIAN had used to obscure 1us true

identity during his interview.

       67.     After the INFOWAR.S interview,on or about January 8,2021,RODRIGLTEZ called

PERSON ONE and asked if RODRIGUEZ, BADALIAN, and~could come to visit

PERSON ONE when they returned to Califortua(where they all resided). PERSON ONE agreed

and gave PERSON ONE's address.

       68.     Upon arriving back in California, on or about 7anuary 10, 2021, RODRIGITEZ

                  ~to PERSON ONE's home.
drove BADALIAN anal

       69.     During the visit to PERSON ONE's home on or about January 10,2021,

vaalked around PERSON ONE's residence, unplugged all of PERSON ONE's Amazon Alexa

devices, and indicated through miming to PERSON ONE not to speak out loud.

       70.     On or about January 10, 2021, while at PERSON ONE's residence,

wrote in a notebook belonging to PERSON ONE, "I WANT TO HELP YOU DELETE

EVERYTHING AND TO T~tANSFER THE FILES TO A SECURE HARD DRIVE."PERSON




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 ONE believed that~was discussing photos and videos taken by PERSON ONE at the

 United States Capitol on January 6, 2021, including materials that showed RODRIGUEZ,

 BADALIAN,and                  participating in the riot.

        71.      On or about January 10, 2021, BADALIAN told PERSON ONE that he did not

 want PERSON ONE using his name when discussing the events at the United States Capitol on

 January 6, 2021. PERSON ONE believed this was because PERSON ONE had used'

 B.ADALIAN's true first name when taliflng to INFOWARS,instead ofthe pseudonym "Turbo."

        72.      Between on or about Januazy 10, 2021, and on or about January 19, 2021,

              arrived at PERSON ONE's house a second time, anal asked PERSON ONE to go to

 Best Buy with him to buy a hard drive to download all ofPERSON ONE's January 6 photographs

 and videos from PERSON ONE's phone. PERSON ONE did not get the hand drive, nor did

 PERSON ONE delete the photographs or videos.


       (In violation of Title 18, United States Code,Sections 371)

                                           coux~r Two
 18 U.S.C. §§ 1512(c)(2),2—Obstruction of an Official Proceeding and Aiding and Abetting

        73.     Pazagraphs 1 through 17 and pazagraphs 22 through 72 of this Indictment are re-

 alleged and incorporated as though set forth herein.

        74.     On or about January 6,2021, within in.the District of Columbia,the defendants,

                                   DANIEL RODRIGUEZ,
                                  EDWARD BADALIAN,and
                                        ~~

attempted to, and did, cozruptly obstruct, influence, and impede an official proceeding,that is, the

certification ofthe Electoral College vote, and did aid anal abet each other and others known and

unlalown to do the same.

      (In violation ofTitle 18, United States Code,Sections 1512(c)(2) and 2)


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                                     COUNT THREE
              18 U.S.C.§ 1512(c)(1}—Tampering with Documents or Proceedings

        75.    Paragraphs 1 through 17 and paragraphs 22 through 72 of this Indictment are re-

 alleged and incorporated as though set forth herein.

        76.     On January 6, 2021, the Washington, D.C. Field Office of the Federal Bureau of

Investigation ("FBI"} opened an investigation into the attack on the Capitol, and a grand jury of

the United States District Court for the District ofColumbia subsequently opened an investigation.

        77.    Between on or about January 6, 2021, and on or about January 19, 2021, the

defendants, within the District of Columbia and elsewhere, the defendants,

                                       DANIEL R4DRIGUEZ,
                                      EDWARD BADALIAN,and
                                         ~   ~

did corruptly alter, desixoy, mutilate, and conceal a record, document, and other object, and

attempted to do so, with the intent to impair its integrifiy and availability for use in an official

proceeding, that is, the grand jury investigation into the attack on the Capitol on January 6,2021.

               (Tn violation of Title 18, United States Code, Section 1512(c)(1))


                                    COUNT FOUR
          18 U.S.C.§ 231(a)(3}—Obstruction ofLaw Enforcement During Civil Disorder

       78.     Pazagraphs one through,l7 and paragraphs 22 through 72 ofthis Indictment are re-

alleged and incorporated as though set forth herein.

       7~.     On or about January 6, 2021, within the District of Columbia, DANIEL

RODRIGUEZ,committed and attempted to commit an act to obstruct,impede,and interfere with

a law enforcement officer, that is M.F., an officer from the Metropolitan Police Department,

lawfiilly engaged in official duties incident to and during the commission of a civil disorder, and

the civil disorder obstructed, delayed, and adversely affected commerce and the movement of any



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 article and commodity in commerce and the conduct and performance of a federally protected

 function, as set forth in pazagraph 1 through paragraph 17.

       (In violation of Title 18, United States Code, Sections 231(a)(3))


                                     COUNT DIVE
           18 U.S.C.§ 231(a)(3~-Obstruction ofLaw Enforcement During Civil Disorder

        80.     Paragraphs one through 17 and paragraphs 22through 72 ofthis Indictment are re-

 alleged and incorporated as though.set forth herein.

        81.     On or about January 6,2021, within the District of Columbia,

 committed and attempted to commit an act to obstruct, impede, and interfere with a law

 enforcement officer, that is N.I., an officer from the Metropolitan Police Department, lawfully

 engaged in official duties incident tv and during the commission of a civil disorder, and the civil

 disorder obstructed, delayed, and adversely affected commerce and the movement of any article

 and commodity in commerce and the conduct and performance of a federally protected fwaction,

 as set forth in paragzaph 1 through pazagraph 17.

       (In violation ofTitle 18, United States Code, Sections 231(a)(3))

                                        COUNT STX
          18 U.S.C. § 111(a)(1) and(b}—Inflicting Bodily Injury on Certain Officers

        82.     Paragraphs one through 17 and paragraphs 22 through 72 ofthis Indictment are re-

 alleged and incorporated as though set forth herein.

        83.     On or about January 6, 2021, within the District of Columbia, DANIEL

 RODRIGUEZ, using a deadly and dangerous weapon, that is, an electroshock weapon, did

forcibly assault, resist, oppose,impede,intimidate, and interfere with, and inflict bodily injury on,

 an officer and employee ofthe United States, and ofany branch ofthe United States Government

(including any member of the uniformed services), and any person assisting such an o~icez and



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 employee, that is, M.F., an officer from the Metropolitan Police Department, while such officer

 and employee was engaged in and on account ofthe performance of official duties, and where the

 acts in violation ofthis section involve physical contact with the victim and the intent to commit

 another felony.

        (In violation ofTitle 18, United States Code, Sections 111(a)(1) and (b})

                                      COUNTSEVEN
                        18 U.S.C.§ 641—Theft of Government Property

         84.    Paragraphs one through 17 and pazagraphs 22 through 72 ofthis Indichnent aze re-

 alleged and incorporated as though set forth herein.

        85.     On or about January 6,2021, within the District of Columbia,the defendants,

                                  DANIEL RODRIGUEZ,and
                                       ~~
 did embezzle, steal, piu~loin, and knowingly convert to his use and the use of another, and without

 authority, sold, conveyed and disposed of any record, voucher, money and thing of value of the

United States and any depar~ent and agency thereof, that is, an emergency escape hood unit and

 bag.

        (In violation of Title 18, United States Code, Section,641)
                                         COUN`.T EIGHT
                    18 U.S.C.§ 1361—Destruction of Government Property

        86.     Pazagraphs one through 17 and pazagraphs 22 through 72 ofthis Indictment are r~

alleged and incorporated as though. set forth herein.

        87.     On or about January 6, 2021, within the District of Columbia, DANIEL

RODRIGIJEZ,did willfiully injure and commit depredation against property ofthe United States,

and of any department and agency thereof, and any property which has been and is being

manufactured and constructed for the United States, and any department and agency thereof, that

is a window ofthe United States Capitol building, causing damage in an amount more than $1,000.


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        (In violation of Title 18, United States Code, Section 1361)
                                      COUNT NIlVE
                    18 U.S.C.§ 1361—Destruction of Government Property

        88.     Pazagraphs one through 17 and paragraphs 22 through 72 ofthis Indictment are re-

 alleged and incorporated as though set forth herein.

        89.     On or about January 6,2021, within the District of Columbia,

 did willfully injure and commit depredation against property of the United States, and of any

 department and agency thereof, and any property which has been and is being manufactured and

 constructed for the United States, and any department and agency thereof, that is a door of the

 Unrted States Capitol building.

       (!n violation ofTitle 18, United States Code, Section 1361)
                                       COUNT TEN
              18 U.S.C.§ 1752(a)(1),(b)(1)(A}--Restricted Building or Grounds

        90.     Paragraphs one through 17 and pazagraphs 22 through 72 ofthis Indictment are re-

 alleged and incorporated as though set forth herein.

        91.     On or about January 6,2021, within the District of Columbia,the defendants,

                                    DAN~L RODRIGUEZ,
                                   EDWARD B.ADALIAN,and
                                       ~~

clid unlawfully and knowingly enter and remain in a restricted building and grounds, that is, any

posted, cordoned-off, and otherwise restricted area within the Capitol and its grounds, where the

Vice President was temporarily visiting, without lawful authority to do so. In so doing,DAN~L

RODRGI[JEZ, during and in relation to the offense, did use and carry a deadly and dangerous

weapon,that is, an electroshock weapon and a flagpole.

      (In violation ofTitle 18, Uxuted States Code, Section 1752(a)(1) and (b)(1)(A))




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                                            A TRUE BILL




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    MATTHEW M.GRAVES
    U.S. ATTORNEY FOR THE UNITED STATES
   IN AND FOR THE DISTRICT OF COLUMBIA




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